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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
CASE NO. 07-20136-CIV-SEITZ/O’SULLIVAN

WALTER INTERNATIONAL PRODUCTIONS,
INC., et al.,

Plaintiffs,
Vv.

WALTER MERCADO SALINAS, et al.,

Defendants.

 

FINAL JUDGMENT

 

Pursuant to the jury verdicts entered on January 26, 2009 and January 28, 2009, it is
hereby

ORDERED that

Judgment is entered in favor of Plaintiffs, Walter International Productions, Inc.,
Watervsion, Inc., Waltervision Productions, Inc., Walter Mercado Radio Productions, Inc., Bart
Enterprises International, Ltd., Walter Mercado Enterprises Corp., and in favor of Counter-
Defendant, Guillermo Bakula, and against Defendants/Counter-Plaintiffs, Walter Mercado-
Salinas and Astromundo, Inc., on all claims, in the amount of $0.00. Defendants/Counter-
Plaintiffs, Walter Mercado-Salinas and Astromindo, Inc., shall take nothing by this action.

DONE AND ORDERED in Miami, Florida, this Bay of February, 2009.

CE:

PATRICIA ASSEICZ 7%
UNITED SYATES DISTRICT JUDGE

cc: All Counsel of Record
